        Case 2:19-cv-13553-EEF-MBN Document 78 Filed 01/11/21 Page 1 of 1




MINUTE ENTRY
NORTH, M.J.
JANUARY 11, 2021

                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

MILES MORAN, ET AL.                                      CIVIL ACTION

VERSU S                                                  NUMBER: 19-13553

KEVA LANDRUM-JOHNSON, ET AL.                             SECTION "L"(5)


         A settlement conference was conducted on this date before the undersigned

Magistrate Judge.

                 PARTICIPATING:     Eric Foley    Mindy Nunez Duffourc

         Negotiations were productive but additional work must be undertaken to achieve

resolution. In the next 30 days, counsel for the parties are to meet and discuss the potential

settlement framework and details discussed during the conference and shall inform the

Court no later than February 11, 2021 of their progress. An additional conference will be

scheduled thereafter.


                                                         MICHAEL B. NORTH
                                                    UNITED STATES MAGISTRATE JUDGE




MJSTAR (00:45)
